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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:07CR287
                       Plaintiff,                 )
                                                  )
       vs.                                        )              ORDER
                                                  )
KHA MANH NGUYEN,                                  )
BICH NGUYEN and                                   )
LIEN NGUYEN,                                      )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion for an extension of time by defendant
Bich Nguyen (Filing No. 58). Bich Nguyen seeks an extension of time to February 29,
2008, in which to file pretrial motions pursuant to paragraph 3 of the progression order
(Filing No. 53). Bich Nguyen has filed an affidavit wherein Bich Nguyen consents to the
motion and acknowledges he understands the additional time may be excludable time for
the purposes of the Speedy Trial Act (Filing No. 58). Upon consideration, the motion will
be granted.
       IT IS ORDERED:
       Defendant Bich Nguyen's motion for an extension of time (Filing No. 58) is granted.
Bich Nguyen is given until on or before February 29, 2008, in which to file pretrial motions
pursuant to the progression order (Filing No. 53). The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between February 13, 2008 and February 29, 2008, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant’s counsel requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 13th day of February, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
